                                                                                             Motion GRANTED.
                       IN THE UNITED STATES DISTRICT COURT                                   Plea reset for
                      FOR THE MIDDLE DISTRICT OF TENNESSEE                                   9/10/12 at 10:00 a.m.

                                      NASHVILLE DIVISION


   UNITED STATES OF AMERICA                              )
                                                         )
   vs.                                                   )       NO. 3:10-215
                                                         )       JUDGE TRAUGER
   ANGELA MARIE GARCIA                                   )

                _________________________________________________

              MOTION TO CONTINUE CHANGE OF PLEA HEARING
               _________________________________________________


         In consultation with Assistant United States Attorney Blanche Cook, and with her

agreement, Defendant ANGELA GARCIA, through counsel, moves the Court to continue, for

two weeks, the plea hearing which is now set for August 23, 2012 at 2:30 p.m. (ECF Document

357).

         (Assistant United States Attorney Blanche Cook and defense counsel Ken Quillen are

waiting on approval of a proposed Information and suspect the approval might not come before

the presently scheduled plea date.)

                                                Respectfully submitted,

                                                s/ Kenneth Quillen
                                                Attorney for Angela Garcia
                                                95 White Bridge Rd., Suite 208
                                                Nashville, TN 37205
                                                (615) 356-1580

                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been emailed to Ms. Blanche Cook,
   Assistant United States Attorneys, 110 Ninth Avenue South, Nashville, TN 37203-3870, on this 16th day of
   August, 2012.

                                                s/ Kenneth D. Quillen

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